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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                 Filed: February 17, 2021




Mr. John L. Medearis
Eastern District of Tennessee at Winchester
200 S. Jefferson Street
Room 201 U.S. Courthouse
Winchester, TN 37398-0000

                     Re: Case No. 19-5395, Larry Redmon v. Yorozu Automotive TN, Inc.
                         Originating Case No. : 4:18-cv-00038

Dear Mr. Medearis,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Zachary Love
                                                 For Ryan Orme
                                                 Case Manager

cc: Ms. Joyce W. Cooper
    Ms. Jennifer Smith Rusie

Enclosure




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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                             ________________

                                                No: 19-5395
                                             ________________

                                                                      Filed: February 17, 2021

LARRY SHANE REDMON

                Plaintiff - Appellant

v.

YOROZU AUTOMOTIVE TENNESSEE, INC.

                Defendant - Appellee



                                              MANDATE

     Pursuant to the court's disposition that was filed 01/26/2021 the mandate for this case hereby

issues today.



COSTS: None




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